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                       UNITED STATES DISTRICT CO
                     SOUTHERN DISTRICT OF CALIFO


UNITED STATES OF AMERICA,

                      Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
LAURA BERENICE PICHARDO­
PADILLA (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal: or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

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 X__ of the offense(s) as charged in the Information:

     21:841(A) (1); 18:2 - Possession of Methamphetamine with Intent to

     Distribute; Aiding and Abetting

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 11/12/15
                                            David H. Bartick
                                            U.S. Magistrate Judge
